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UN|TED STATES D|STR|CT COURT

D|STR|CT OF THE l\/|ASSACHUSETTS CASE NO:

Danie| - Aguiar

V.

SANTANDER CONSUMER USA INCDBA
CCAP AUTO LEASE LTD

cHRYsLER cAPlTAL sEvacER ccAP AuTo LEAsE `~'*

PART| ES

1- The plaintiff is a natural person Who resides at the 50 island street, Apt 406,
Lawrence - lVlA-01840.

2- The Defendant SANTANDER CONSU|V|ER USA is a out of state business and
the mailing address is PO BOX 660633, DALLAS -TX 75266.

3- THE CCAP AUTO LEASE has out of state office which is PO BOX 961272, FT
WORTH TX 76161.

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JUR|SD|CT|ON

4- The Court has the jurisdiction on this matter since the parties are located
in the different states and amount of the damages exceeds $75000.0

COUNT|

5- The Defendant violated the Plaintiff consumer rights by taking the plaintiff
car Without any prior notice and permission, and the plaintiff car a DODG,
2015, DURANG, WDEL75, TYPE : UT|L|TY, vin number 1C4RD.|AGOFC695617,
at night Without any notice as the result they deprive the plaintiff and his
family from means of transportation , and the plaintiff suffered financial
loss and emotional damages.

6- The Defendants conduct violets the plaintiff rights in accordance to the
|V|assachusetts consumer protection regulations also my rights in
accordance to the Chapter 93A, The Defendants conduct has caused
inconvenient for the plaintiff and my family and the plaintiff suffered
financial and emotional damages .

WHEREFORE , THE PLA||NT|FF request respectfully Honorable court order
immediate return of the plaintiff car and payment compensation for the plaintiff
financial loss and the emotional distress .

The plaintiff request for the Jury trial on all counts .

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a l
Date : 0 7//4/2 7 Respectful|y Submitted By the Plaintiff:

Danie| - Agular

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